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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WISCONSIN


Dahl Automotive Onalaska Inc.
dba Dahl Lincoln
561 Theater Road
Onalaska, WI 54650

Garbo Motor Sales, Inc.                         Case No. 20cv932
dba Garbo Lincoln
3077 Douglas Avenue
Racine, WI 53402

Griffin Ford Lincoln Fort Atkinson, Inc.
1642 Janesville Avenue
Fort Atkinson, WI 53538

Jim Olson Ford Lincoln, LLC
440 South Duluth Avenue
Sturgeon Bay, WI 54235

Kayser Ford, Inc., dba Kayser Lincoln
2303 West Beltline Highway
Madison, WI 53713

Kunes Country Ford-Lincoln, Inc.
1234 East Geneva Street
Delavan, WI 53115

Lidtke Motors, Inc.
701 Park Avenue
Beaver Dam, WI 53916

The Motor Company, Inc.
dba Lincoln of Marinette
W1680 US Highway 41
Marinette, WI 54143

Uptown Motors, Inc.
2111 N. Mayfair Road
Milwaukee, WI 53226

V & H Automotive, Inc.
2414 North Central Avenue
Marshfield, WI 54449
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Y & D Corp.
dba Dorsch Lincoln
2641 Eaton Road
Green Bay, WI 54311,

                               Plaintiffs,

v.
Ford Motor Company
dba Lincoln Motor Company
One American Road
Dearborn, Michigan 48126,

                               Defendant.



                                             COMPLAINT



       The above-named plaintiffs complain against the defendant as follows:

                                OVERVIEW OF THIS ACTION

       1.      Each of the plaintiffs in this action is a motor vehicle dealer enfranchised by the

defendant Ford Motor Company dba Lincoln Motor Company (“Lincoln”) to sell and service

Lincoln passenger cars and light trucks (“vehicles”). The plaintiffs’ franchises include the right

to buy vehicles from Lincoln for resale. Under the terms of their dealer agreements with

Lincoln, the plaintiffs pay an invoice price per vehicle that is established by Lincoln, but are

eligible to receive a certain amount, which Lincoln refers to as “margin,” back from Lincoln

after the vehicle has been sold. The amount of “margin” that a dealer receives is equal to a

percentage of the vehicle’s manufacturer’s suggested retail price (“MSRP”) and effectively

reduces the net price that the dealer pays for the vehicle. From 2012 until July of this year, the

maximum margin that a dealer was eligible to receive per vehicle purchased and resold was

                                                  2
